                IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                               DISTRICT OF PENNSYLVANIA


 FRANKLIN INTERIORS, INC.,                   )   No. 2:20-cv-1423- AJS
                                             )
         Plaintiff,                          )   Judge Arthur J. Schwab
                                             )
 v.                                          )
                                             )
 PETER M. WESOLOSKY and DIRTT                )
 ENVIRONMENTAL SOLUTIONS, INC.,              )
                                             )
         Defendants.                         )


                                          ORDER

                       14th
        AND NOW, this _________           December
                                day of ____________________, 2020, upon consideration of

Plaintiff’s Motion for Redaction of Transcript, it is hereby ORDERED and DECREED that said

Motion is GRANTED. The court reporter shall redact the following from the September 30, 2020

transcript:

Page 10, Line 25; Page 11, Lines 1-4; Page 14, Lines 4-11, 13-23; Page 17, Lines 3-12, 17-22;

Page 20, Lines 20-25; Page 21, Lines 1-3; Page 33, Lines 20 - 23; Page 37, Lines 12-15; Page

51, Lines 14-15; Page 70, Lines 14-18; Page 71, Lines 8-10; Page 74, Lines 12-14,18-21; Page

76, Lines 11-12, 16-20; and Page 77, Lines 22-24.

                                                    BY THE COURT:



                                                       s/Arthur J. Schwab
                                                    ______________________________

                                                                         J.
